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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

 SITEPRO, INC.,                              §
                                             §
         Plaintiff,                          §
                                             §
 v.                                          §       Civil Action No. 6:23-cv-00115-ADA-DTG
                                             §
 WATERBRIDGE RESOURCES, LLC,                 §       JURY TRIAL DEMANDED
 ET AL.,                                     §
                                             §
         Defendants.                         §

      UNOPPOSED MOTION FOR EXTENSION OF TIME TO FILE ANSWER OR
                        RESPONSIVE PLEADING

        Defendant The Integration Group of the Americas (“TIGA”) files this Unopposed Motion

for Extension of Time to File Answer or Responsive Pleading, requesting this Court extend its time

to answer or otherwise respond to the above-styled lawsuit to May 23, 2023 and respectfully states

as follows:

        TIGA was served with this lawsuit on March 29, 2023, Summons Return [Dkt. 11], making

its answer or responsive pleading deadline April 19, 2023. Fed. R. Civ. P. 12(a)(1)(A)(i). Because

the WaterBridge Defendants waived formal service on March 24, 2023, Summons Returns [Dkt.

Nos. 7, 8, 9, and 10], their answer deadline is May 23, 2023. TIGA respectfully requests an

extension of time to file its answer or responsive pleading to May 23, 2023, the same day as the

remaining defendants. TIGA continues to evaluate the allegations in the complaint and consider

the appropriate response to the same.

        TIGA does not seek this extension for purposes of delay, but so that the case may proceed

against all defendants on a uniform timeline, and so that any Rule 12 motions may be considered

together.

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 Dated: April 10, 2023                                Respectfully submitted,

                                                      /s/ Richard A. Schwartz
                                                      Richard A. Schwartz
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                                                      Houston, TX 77002-2806
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                                                      F: 713.222.1475


                              CERTIFICATE OF CONFERENCE

       I certify that I conferred via email with counsel for Plaintiff SitePro, Inc. on April 10, 2023
regarding the relief requested in this Motion, and counsel is not opposed.


                                                               /s/ Richard A. Schwartz
                                                               Richard A. Schwartz



                                 CERTIFICATE OF SERVICE

        I certify that on April 10, 2023, I electronically served all counsel of record by filing the
foregoing document via the court’s CM/ECF system. I further certify that on April 10, 2023, I
served the foregoing document on counsel for the WaterBridge Defendants via email at:

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                                                               /s/ Richard A. Schwartz
                                                               Richard A. Schwartz




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